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10                                              Inc.
     *Admitted Pro Hac Vice
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     Attorneys for Plaintiff
12   ROTHSCHILD STORAGE
     RETRIEVAL INNOVATIONS, LLC
13

14
                           IN THE UNITED STATES DISTRICT COURT
15                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

16   ROTHSCHILD STORAGE                         Case No. 3: 15-cv-02500-EDL
     RETRIEVAL INNOVATIONS, LLC,
17

18                        Plaintiff,            STIPULATION AND [PROPOSED]
                                                ORDER FOR DISMISSAL
19   LG ELECTRONCIS, INC., a South Korean
     corporation; LG ELECTRONICS U.S.A.,        Judge: Elizabeth D. Laporte
20   INC., a Delaware corporation; and LG
     ELECTRONICS MOBILECOMM U.S.A.,
21   INC., a California corporation,
22
                          Defendants.
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     STIPULATION AND [PROPOSED] ORDER FOR                           CASE NO. 3:15-CV-02500-EDL
     DISMISSAL
             Case 3:15-cv-02500-EDL Document 66 Filed 10/19/15 Page 2 of 5



 1          IT IS HEREBY STIPULATED BY AND BETWEEN THE PARTIES HERETO
 2   THROUGH THEIR RESPECTIVE COUNSEL AS FOLLOWS:

 3   1.     Pursuant to Federal Rule of Civil Procedure 41(a), Plaintiff, Rothschild Storage Retrieval

 4   Innovations, LLC, and Defendants, LG ELECTRONCIS, INC., a South Korean corporation; LG

 5   ELECTRONICS U.S.A., INC., a Delaware corporation; and LG ELECTRONICS
     MOBILECOMM U.S.A., INC., a California corporation, hereby stipulate to the dismissal of the
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     action with prejudice. All claims of infringement raised by Plaintiff are dismissed with
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     prejudice. All claims, defenses, or counterclaims raised by Defendants are dismissed with
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     prejudice. Each party will bear is own costs and fees.
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     STIPULATION AND [PROPOSED] ORDER FOR
                                                     1                    CASE NO. 3:15-CV-02500-EDL
     DISMISSAL
             Case 3:15-cv-02500-EDL Document 66 Filed 10/19/15 Page 3 of 5



 1
      Dated: October 19, 2015
 2    Respectfully submitted,

 3    /s/ Valerie M. Wagner                          /s/ Sarah Barrows
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      *Admitted Pro Hac Vice                         Inc., and LG Electronics Mobilecomm U.S.A.,
13                                                   Inc.
14    Counsel for Plaintiff Rothschild
      Storage Retrieval Innovations, LLC.
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     STIPULATION AND [PROPOSED] ORDER FOR
                                                 2                     CASE NO. 3:15-CV-02500-EDL
     DISMISSAL
              Case 3:15-cv-02500-EDL Document 66 Filed 10/19/15 Page 4 of 5


                                            [PROPOSED] ORDER
 1

 2          This Court, having reviewed this Stipulation and [Proposed] Order, and good cause
 3   appearing therefore, orders all claims and counter-claims as between the parties to the above
 4   stipulation and hereby dismissed with prejudice, with each party to bear his or its own attorney’s
 5   fees and costs.

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     DATED:                        , 2015       By:
 7                                                        The Honorable Elizabeth D. Laporte
                                                            United States Magistrate Judge
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     STIPULATION AND [PROPOSED] ORDER FOR
                                                      3                    CASE NO. 3:15-CV-02500-EDL
     DISMISSAL
             Case 3:15-cv-02500-EDL Document 66 Filed 10/19/15 Page 5 of 5



 1                                                ATTESTATION
 2          Pursuant to Civil Local Rule 5-1(i), I attest that the concurrence in the filing of this

 3   document has been obtained from each of the other signatories.

 4   DATED: October 19, 2015                        GCA LAW PARTNERS LLP

 5
                                                    By: /s/ Valerie M. Wagner
 6                                                          Valerie M. Wagner

 7                                                  Attorneys for ROTHSCHILD STORAGE
                                                    RETRIEVAL INNOVATIONS, LLC
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     STIPULATION AND [PROPOSED] ORDER FOR
                                                      4                      CASE NO. 3:15-CV-02500-EDL
     DISMISSAL
